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                         Exhibit “J”




                         Exhibit “J”
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 Summary:      Amendments to festival code.
                               BILL NO. __________
                            ORDINANCE NO. _________
 AN ORDINANCE AMENDING CHAPTER 5.16.060, ENTITLED FESTIVAL ORDINANCE
 BY SETTING A FEE BASED UPON THE BUDGETARY PROJECTIONS OF AFFECTED
 COUNTY DEPARTMENTS; AND OTHER MATTERS PROPERLY RELATING THERETO.
               WHEREAS, the Board adopts previously made findings in relation
 to the provisions of this ordinance;
               WHEREAS, the Board, having experienced the licensure of a major
 event in 2012, hereby desires to modify previous provisions in the ordinance to
 ensure that sufficient monies are collected to cover the additional costs
 incurred by the County as a result of an Outdoor Assembly of more than 1000
 people in the county;
               NOW, THEREFORE, IT IS ORDAINED BY THE PERSHING COUNTY
 BOARD OF COUNTY COMMISSIONERS that the following changes and additions
 be made to Chapter 5.16.060 of the Pershing County Code.
        5.16.060: LICENSE APPLICATION; CONSIDERATION BY COUNTY
 COMMISSIONERS; ASSEMBLY FEE:

               At the hearing on the application, the Board of County
 Commissioners may receive public comment, testimony, and other evidence
 relating to the proposed Assembly. Based upon the testimony of the witnesses
 and evidence presented at the hearing, including the report of the Sheriff,
 County Engineer, and other county personnel, the Board of Commissioners shall
 either deny the application in accordance with the provisions as set forth
 herein, or grant the application and set conditions in accordance with the
 provisions herein. Notice of the decision shall be issued within ten days of the
 hearing or during the hearing. Any grant or denial may not be based upon any
 impermissible justification, such as the content of the speech at the event,
 race, or other impermissible consideration.
               The Board shall set conditions necessary for the safety of the
 event as set forth in PCC 5.16.080. The applicant shall furnish or cause to be
 furnished to the clerk proof that all conditions have been met before the
 license may be issued by the clerk and shall pay a license fee as set forth
 herein.
        In addition to the conditions set forth herein, the Commissioners shall
 set a license fee. The license fee will be set and based upon budgets
 submitted by the various county offices which will incur additional workload
 and costs from the event. The Commissioners shall examine the proposed
 budgets and make any changes that are reasonable and necessary to ensure
 that the budgets cover the necessary expenses incurred as a result of the
 event. The license fee shall be used to provide law enforcement services to
 the event and shall be used to cover reasonable and necessary expenses
 including, but not limited to, prosecution costs, hiring additional law
 enforcement personnel, purchasing equipment and other infrastructure for an
 Assembly, court costs, public defender costs, administrative costs, costs for
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 review by County personnel, and other reasonable and necessary costs incurred
 as a result of the event. The County shall establish reasonable methods for
 reimbursing the general fund or other funds for expenses and costs incurred as
 a result of the Assembly from the license fee.

 The board of commissioners may not waive the license fee in this section (Ord.
 217, 2004: Ord. 208, 2004; Ord. 288, February 2012; Amended Ord.        )

 REPEAL
               All ordinances or resolutions or parts thereof inconsistent with
 this Ordinance are repealed to the extent of such inconsistency.
 SEVERABILITY
               If any provision of this ordinance or its application to any person
 or circumstance is held invalid, such invalidity shall not affect other provisions
 or applications of this ordinance and the provisions of this ordinance are
 declared severable.
               THIS ORDINANCE shall take effect on October 1, 2012, the
 Pershing County Commissioners are hereby authorized and directed to have this
 published by title together with the names of the Commissioners voting for or
 against its passage once a week for a period of two (2) weeks in the Lovelock
 Review Miner, a newspaper published in a general circulation in the County of
 Pershing, State of Nevada.

              PROPOSED on the 18th day of July, 2012.
              PROPOSED by Commissioner                        .
              PASSED on the     day of , 2012.
              VOTE: Ayes:
                    Nays:
                    Absent:
                                       ______________________________
                                       Pat Irwin, Chairperson
                                       BOARD OF PERSHING COUNTY
                                       COMMISSIONERS
 ATTEST:
 _________________________
 Clerk




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